Case 1:24-cr-00542-AS   Document 220-2   Filed 04/08/25   Page 1 of 6




                        Exhibit
                        Exhibit B
                                B
                        Case 1:24-cr-00542-AS                              Document 220-2                        Filed 04/08/25                   Page 2 of 6




From:                                                  Safier, Paul J.
Sent:                                                  Wednesday, March 26, 2025 4:29 PM
To:                                                    Anna Estevao; Sullivan, Thomas B.
Subject:                                               RE: United States v. Combs, 24 Cr. 542 (AS) - Subpoena to Warner Bros. Discovery


Thank you.


Paul J. Safier
2024 Pro Bono Honor Roll – Gold
Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103-7599
Direct 215.988.9146
Mobile 267.760.0353
safierp@ballardspahr.com
www.ballardspahr.com




From: Anna Estevao <AEstevao@shertremonte.com>
Sent: Wednesday, March 26, 2025 4:28 PM
To: Safier, Paul J. <SafierP@ballardspahr.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

⚠ EXTERNAL
Yes, April 8 is fine. Thanks again.

Anna


                                Anna Estevao
                                Sher Tremonte LLP
                                90 Broad Street, 23rd Floor | New York, NY 10004
                                tel: 212.202.3354 | fax: 212.202.4156
                                aestevao@shertremonte.com
                                www.shertremonte.com




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From: Safier, Paul J. <SafierP@ballardspahr.com>
Sent: Wednesday, March 26, 2025 4:00 PM
To: Anna Estevao <AEstevao@shertremonte.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

Thanks, Anna. That’s fine. How about April 8 for the new return date? I am traveling for depositions on April 3‐7. So,
anything short of that would be tough.


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                        Case 1:24-cr-00542-AS                              Document 220-2                        Filed 04/08/25                   Page 3 of 6
Paul J. Safier
2024 Pro Bono Honor Roll – Gold
Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103-7599
Direct 215.988.9146
Mobile 267.760.0353
safierp@ballardspahr.com
www.ballardspahr.com



From: Anna Estevao <AEstevao@shertremonte.com>
Sent: Wednesday, March 26, 2025 3:53 PM
To: Safier, Paul J. <SafierP@ballardspahr.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

⚠ EXTERNAL
Apologies, but can we reschedule our call? I haven’t had a chance to run this to ground with the team. We would agree
to extending the return date out further so that we can continue conferring.

Thanks,
Anna


                                Anna Estevao
                                Sher Tremonte LLP
                                90 Broad Street, 23rd Floor | New York, NY 10004
                                tel: 212.202.3354 | fax: 212.202.4156
                                aestevao@shertremonte.com
                                www.shertremonte.com




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From: Safier, Paul J. <SafierP@ballardspahr.com>
Sent: Tuesday, March 25, 2025 4:48 PM
To: Anna Estevao <AEstevao@shertremonte.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

Hi Anna – Attached is the Shah decision we meant to reference. I might have screwed up the cite when I tried to
translate from LEXIS to Westlaw.

Thanks,
Paul

Paul J. Safier
2024 Pro Bono Honor Roll – Gold
Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103-7599
Direct 215.988.9146
Mobile 267.760.0353
safierp@ballardspahr.com
www.ballardspahr.com

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From: Anna Estevao <AEstevao@shertremonte.com>
Sent: Monday, March 24, 2025 4:07 PM
To: Safier, Paul J. <SafierP@ballardspahr.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>;
teny@agilawgroup.com; marc@agilawgroup.com; ashapiro@shapiroarato.com; jdriscoll@shapiroarato.com
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

⚠ EXTERNAL
Confirming the extension of the return date to April 1. Thanks and speak to you again tomorrow.

Best,
Anna


                                Anna Estevao
                                Sher Tremonte LLP
                                90 Broad Street, 23rd Floor | New York, NY 10004
                                tel: 212.202.3354 | fax: 212.202.4156
                                aestevao@shertremonte.com
                                www.shertremonte.com




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From: Safier, Paul J. <SafierP@ballardspahr.com>
Sent: Monday, March 24, 2025 4:05 PM
To: Anna Estevao <AEstevao@shertremonte.com>; Sullivan, Thomas B. <SullivanT@ballardspahr.com>;
teny@agilawgroup.com; marc@agilawgroup.com; ashapiro@shapiroarato.com; jdriscoll@shapiroarato.com
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

Anna – It was nice speaking with you. Here are some of the case citations on the reporter’s privilege that we referenced
during our meeting:

           United States v. Treacy, 639 F.3d 32 (2d Cir. 2011)
           Gonzales v. NBC, 194 F.3d 29 (2d Cir. 1998)
           United States v. Burke, 700 F.2d 70 (2d Cir. 1983)
           United States v. Shah, 2022 WL 1284550 (S.D.N.Y. Apr. 29, 2022)
           In re McCray, Richardson, Santana, Wise & Salaam Litig., 991 F. Supp. 2d 464 (S.D.N.Y. 2013)

Please confirm by email that the return date on the subpoena has been extended to April 1. Thank you, and talk to you
tomorrow.

Best,
Paul


Paul J. Safier
2024 Pro Bono Honor Roll – Gold
Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103-7599
Direct 215.988.9146
Mobile 267.760.0353
                                                                                               3
                        Case 1:24-cr-00542-AS                              Document 220-2                        Filed 04/08/25                   Page 5 of 6
safierp@ballardspahr.com
www.ballardspahr.com



From: Anna Estevao <AEstevao@shertremonte.com>
Sent: Monday, March 24, 2025 1:42 PM
To: Sullivan, Thomas B. <SullivanT@ballardspahr.com>; teny@agilawgroup.com; marc@agilawgroup.com;
ashapiro@shapiroarato.com; jdriscoll@shapiroarato.com
Cc: Safier, Paul J. <SafierP@ballardspahr.com>
Subject: RE: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

⚠ EXTERNAL
Thanks, Tom. I’m available after 3pm. Please let us know when works best for you.

Anna


                                Anna Estevao
                                Sher Tremonte LLP
                                90 Broad Street, 23rd Floor | New York, NY 10004
                                tel: 212.202.3354 | fax: 212.202.4156
                                aestevao@shertremonte.com
                                www.shertremonte.com




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From: Sullivan, Thomas B. <SullivanT@ballardspahr.com>
Sent: Monday, March 24, 2025 1:25 PM
To: teny@agilawgroup.com; Anna Estevao <AEstevao@shertremonte.com>; marc@agilawgroup.com;
ashapiro@shapiroarato.com; jdriscoll@shapiroarato.com
Cc: Safier, Paul J. <SafierP@ballardspahr.com>
Subject: United States v. Combs, 24 Cr. 542 (AS) ‐ Subpoena to Warner Bros. Discovery

Counsel,

Ballard Spahr has been retained by Warner Bros. Discovery in connection with your client’s subpoena in the above‐
captioned matter. Please let us know your availability later today for a call to meet and confer.

Thank you,
Tom Sullivan

Thomas B. Sullivan
He/Him/His
2024 Pro Bono Honor Roll – Gold




1675 Broadway, 19th Floor
New York, NY 10019-5820
212.850.6139 DIRECT
212.223.1942 FAX


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sullivant@ballardspahr.com
sullivant@ballardspahr.com
VCARD
VCARD

L
www.ballardspahr.com




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